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                                #:72194
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                                     #:72195


1             The Special Master hereby provides notice to the parties that he has provided a brief

2      written status report to the Court. (See Dkt. No. 223 ¶ 11; Dkt. No. 1039.)
3

4

5                    IT IS SO ORDERED.

6
               11/11/2020
7      Dated: ___________________                 ________ _________________________________
                                                   Hon. Andrew J. Guilford, Ret.
8                                                  Special Master
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